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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA,

                                   Plaintiff

                                                         DECISION and ORDER
-vs-
                                                         13-CR-6025

TINA MCDONALD

                                   Defendant

__________________________________________

       This case was referred by text order of the undersigned, entered February 12, 2013

to Magistrate Judge Marian W. Payson, pursuant to 28 U.S.C. § 636(b)(1)(A)-(B), ECF No.

34. On September 30, 2013, Defendant filed an omnibus motion, ECF No. 192, seeking

inter alia suppression of statements, both oral and written, and suppression of tangible

evidence. As to the former, she alleged that as to the latter, she maintained that the search

of her residence at 59 Ernst Street on July 1, 2012, pursuant to a warrant, was unlawful

based upon a lack of probable cause in the application of submitted in support of the

warrant. On December 9, 2013, ECF No. 247, and January 23, 2014, ECF No. 275, an

evidentiary hearing was held concerning the circumstances surrounding Defendant’s

warrantless arrest on July 10, 2012 and statements she made following her arrest. On

November 10, 2015, Magistrate Judge Payson filed a Report and Recommendation

(“R&R”), ECF No. 450, recommending that Defendant’s application to suppress statements

and her application to suppress tangible evidence both be denied. On December 22, 2015,

Defendant timely filed objections to the R&R, ECF No. 465, arguing that “her arrest on July

10, 2012 during the search of her residence was without sufficient probable cause and
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therefore the subsequent statement of McDonald in police custody must be suppressed

as fruit of an unlawful arrest.” Objections to Magistrate Judge’s Report and

Recommendation, p.1.

      Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo determination

of those portions of the R&R to which objections have been made. Upon a de novo

review of the R&R, including a review the transcript, ECF No. 340, of the evidentiary

hearing held on December 9, 2013 and January 23, 2014 and exhibits received, the Court

accepts the proposed findings and recommendation.

        Accordingly, for the reasons set forth in Magistrate Judge Payson’s R&R, ECF No.

450, Defendant’s application to suppress statements and her application to suppress

tangible evidence, ECF No. 192, are both denied.

        IT IS SO ORDERED.

Dated: Rochester, New York
       January 26, 2016

                          ENTER:


                                               /s/ Charles J. Siragusa
                                               CHARLES J. SIRAGUSA
                                               United States District Judge




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